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                             UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
                                  SAN FRANCISCO DIVISION

RICHARD KADREY, et al.,                             Case No. 3:23-cv-03417-VC

        Individual and Representative Plaintiffs,
                                                    PLAINTIFFS’ ADMINISTRATIVE
   v.                                               MOTION TO CONSIDER WHETHER
                                                    ANOTHER PARTY’S MATERIAL
META PLATFORMS, INC.,                               SHOULD BE SEALED RE: MOTION FOR
                                                    RELIEF
                                     Defendant.




                            PLAINTIFFS’ ADMIN. MTN. TO CONSIDER SEALING RE: MOTION FOR RELIEF
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        Pursuant to Civil Local Rules 7-11, 79-5(f), and this Court’s Standing Order on

Motions to Seal, Plaintiffs respectfully submit this Administrative Motion to Consider Whether

Another Party’s Material Should Be Sealed, filed in connection with Plaintiffs’ Motion for Relief

From Non-Dispositive Pretrial Order. The Motion for Relief contains, in various places,

summaries or descriptions of material that Defendant Meta Platforms, Inc. (“Meta”), has

designated as “Confidential” or “Highly Confidential - Attorneys Eyes Only,” as defined in the

in the parties’ Stipulated Protective Order for Litigation Involving Patents, Highly

Sensitive Confidential Information and/or Trade Secrets (ECF No. 90, the “Protective Order”).

Plaintiffs are also filing an exhibit in support of the Motion for Relief under seal because it is

designated by Meta as “Highly Confidential - Attorneys’ Eyes Only.”

        Accordingly, Plaintiffs have filed a public version of the Motion for Relief to the docket

via ECF, redacting references to such extracted information or summaries. Plaintiffs have also

filed under seal an unredacted, highlighted version. Plaintiffs have also filed a “slipsheet” version

of the exhibit in support of the Motion for Relief via ECF and will file an unredacted version under

seal.



Dated: January 2, 2025                             By: /s/ Maxwell V. Pritt
                                                       Maxwell V. Pritt

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